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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  DEL RIO DIVISION

The State of Texas,                    )
       Plaintiff,                      )
                                       )
                                       )
v.                                     )                      No. DR-23-CV-00055-AM
                                       )
Alejandro Mayorkas, et al.,            )
       Defendants.                     )
                                       )

                      DECLARATION OF MARC BENNETT COUREY

        I, Marc Bennett Courey, pursuant to 28 U.S.C. § 1746, and based upon my personal

knowledge and information made known to me in the course of my employment, hereby declare

as follows, relating to the above-captioned matter:

1.      I am the Associate Chief Counsel (Enforcement and Operations), Office of Chief Counsel

(OCC) for U.S. Customs and Border Protection (CBP). I have held this position since December

2015.

2.      As the Associate Chief Counsel (Enforcement and Operations), I oversee, on behalf of

the Chief Counsel, the development and delivery of legal advice regarding law enforcement and

operational matters within the purview of CBP, including the administration of customs,

immigration, and other federal law, to the senior leadership and other officials of CBP. I manage

a Headquarters-based staff including approximately 27 attorneys, along with three legal training

offices in Georgia, New Mexico, and West Virginia, totaling approximately 28 additional

attorneys. The Enforcement and Operations section is charged with nationwide programmatic

responsibility for legal advice, litigation, and legal training regarding matters within the subject

matter purview of the section.



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3.      With over 60,000 employees, CBP is one of the world’s largest law enforcement

organizations. As the nation’s unified border entity, and in implementation of 6 U.S.C. § 211,

CBP takes a comprehensive approach to border management and control, combining customs,

immigration, border security, and agricultural protection into one coordinated and supportive

activity. CBP’s mission priorities include countering terrorism, combating transnational crime,

securing the border, facilitating lawful trade and protecting revenue, and facilitating lawful

travel. CBP carries out its mission priorities through its subcomponents, which include the U.S.

Border Patrol. The U.S. Border Patrol is responsible for patrolling thousands of miles across the

Mexican and Canadian land and maritime borders as well as along our coastal waters.

4.      I am familiar with the above-captioned litigation, as attorneys on my staff and within the

Texas region are currently assisting the U.S. Department of Justice (DOJ) in defending CBP in

this litigation.

5.      I am also familiar with the Court’s November 9, 2023 Order (“Order”) requiring CBP to

provide the Court, by the day of the second in-person preliminary injunction hearing: (1) “any

and all documents including but not limited to reports and emails, among United States Border

Patrol, especially the Del Rio Sector agents, regarding or referencing the Plaintiff’s concertina

wire barriers or other barriers located in Maverick County, Texas, as well as any and all

documents which regard or reference impediments to said agents’ performance as a result of the

barriers,” and (2) “communications, including but not limited to emails, from and including

March 6, 2021, through today regarding or referencing the Plaintiff’s and Defendants’

cooperation on implementing, facilitating, managing, maintaining, damaging, destroying, or

interfering with the Plaintiff’s barriers, specifically the concertina wire barriers, along the Texas-

Mexico border.” Dkt. 33.



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6.     Given the scope of information implicated in the terms of the Order, it is not feasible for

CBP to search for, collect, review, and produce all documents called for in the Order. As part of

its day-to-day operations, CBP regularly generates, receives, and sends large quantities of

electronically stored information. This electronically stored information is stored in various

locations, including CBP’s email system. Data gathered by CBP’s Office 365, Email & Azure

Services (“O365”) Team shows that, from January to October 2023, CBP’s email system was

used to receive over 1 billion emails and send over 65 million emails. Data gathered by CBP’s

O365 Team further shows that, on a monthly basis during the same timeframe, CBP’s email

system was used to receive an average of more than 100 million emails and send an average of

over 6 million emails.

7.     CBP has approximately 16,000 Border Patrol Agents assigned to the southwest border,

comprising approximately 26% of the CBP employee workforce. Applying the monthly

averages set forth in Paragraph 6, and limiting the data parameters from March 6, 2021 to the

present, searching for emails responsive to the Court’s Order would necessitate searching a

universe of approximately 882 million emails, consisting of approximately 832 million emails

received and approximately 50 million emails sent. Limiting the search to the more than 1,500

Border Patrol Agents assigned to U.S. Border Patrol’s Del Rio Sector would mitigate the

universe of emails, though not adequately, still leaving approximately 85 million emails,

consisting of 80 million emails received and 4.8 million emails sent during the period of March

6, 2021 to November 9, 2023.

8.     Given these functional limitations, as customary when engaging in electronic discovery,

and in an endeavor to locate key responsive documents, on November 9, 2023, OCC requested

that CBP’s Office of Information Technology eDiscovery Team collect potentially responsive



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electronically stored information using certain search parameters. Specifically, OCC requested

that CBP’s Office of Information Technology eDiscovery Team collect potentially responsive

electronically stored information by running enumerated search terms across data in two

locations—email and OneDrive 1 accounts—for seven custodians selected on the basis of their

operational responsibilities:

     CBP Officials                                                 Date Range                Search Terms

     David BeMiller                                                March 6, 2021             Barrier
     Chief, Law Enforcement Operations Headquarters
     Juan Bernal                                                   through                   Wire
     (Acting) Chief Patrol Agent
     Del Rio Sector                                                November 9, 2023          Impediments
     Milton Moreno
     (Acting) Deputy Chief Patrol Agent                                                      Concertina
     Del Rio Sector
     Micky Donaldson                                                                         Lock
     Patrol Agent in Charge
     Eagle Pass North Station                                                                Fence
     George Cavazos
     Deputy Patrol Agent in Charge                                                           Gate
     Eagle Pass North Station
     Gerardo Inocencio                                                                       Razor
     Patrol Agent in Charge
     Eagle Pass South Station                                                                C-wire
     Mario Trevino, Jr.
     Deputy Patrol Agent in Charge                                                           Impede
     Eagle Pass South Station


9.       On November 11, 2023, OCC’s RelativityOne Support Team, comprised of technical

experts charged with assisting CBP in using RelativityOne, uploaded the resulting collection into

its instance of RelativityOne, a state-of-the-art document review software. OCC’s RelativityOne

Support Team then used RelativityOne’s de-duplication capability to identify and remove exact




1
 Microsoft’s OneDrive is a cloud storage service. CBP users save, inter alia, files created with Microsoft 365’s
desktop apps, e.g., Microsoft Word, PowerPoint, Excel, to OneDrive.

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copy standalone documents, e.g., emails, .doc files, and family groups, meaning emails with their

attachments, from the collection. Following de-duplication, 310,636 documents remained in the

collection, comprised of 152,096 emails and 158,540 email attachments and standalone

documents.

10.     OCC’s RelativityOne Support Team analyzed a random sample consisting of 9,961 of the

310,636 documents remaining in the collection and determined that the average document in that

sample is 16.15 pages. As such, the 310,636 documents remaining in the collection likely equate

to over 5 million pages. Estimating a review time of 2 minutes per page, which includes review

for responsiveness, sensitive information, and privileged information, review of the collection

would likely take over 10 million minutes, or over approximately 167,000 hours to complete.

Even if all of OCC’s approximately 321 nationwide attorneys were assigned, full-time (40 hours

per week) to conduct a review of this universe—an untenable proposition given the myriad legal

matters OCC supports, including cases in federal court nationwide—it would likely take at least

13 weeks to complete.

11.     Given the untenability of such a project, and as customary when engaging in electronic

discovery, OCC requested that OCC’s RelativityOne Support Team apply proximity searches to

the 310,636 documents remaining in the collection. To formulate these proximity searches, OCC

reviewed a search term report that OCC’s RelativityOne Support Team generated in

RelativityOne. The search term report showed the frequency in which key terms appear in the

310,636 documents remaining in the collection, both on their own and with other key terms. The

proximity searches 2 were as follows:




2
 Proximity searches are searches where words or phrases must be within a certain proximity of one another, notated
by a “w/” followed by a number indicating the required proximity.

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                 a. “c-wire” w/8 (Texas or DPS or TX or TMD or TXNG) 3
                 b. concertina w/8 (Texas or DPS or TX or TMD or TXNG)
                 c. Fence w/8 rancher
                 d. Gate w/8 rancher
                 e. Gate w/8 (fence and River)
                 f. lock w/8 rancher
                 g. imped~ w/8 (Texas or DPS or TX or TMD or TNG) 4
                 h. Gate w/8 Berm
                 i. Gate w/8 barrier
                 j. Gate w/8 dirt
                 k. cooperat* w/8 (concertina or c-wire) 5
                 l. notif* w/8 (concertina or c-wire)
                 m. cooperat* w/8 (Texas or DPS or TX or TMD or TNG)
                 n. notify~ w/8 (Texas or DPS or TX or TMD or TNG)
                 o. imped~ w/8 river
                 p. “cyclone fence” w/8 river
                 q. (“Conex box” or razor or concertina) w/8 river
                 r. “razor wire” w/8 river
                 s. Concert* w/8 river

12.     These proximity searches narrowed the collection of 310,636 documents to 6,096

documents requiring review.

13.     Document review, and especially privilege and confidentiality review, which is part of

document review, is a labor-intensive, time-consuming process. OCC attorneys sometimes need

to discuss privilege issues with the CBP clients and, in many cases, other government agencies.

Discussions with the CBP clients can be especially time-consuming; they may require

consultation with U.S. Border Patrol (both at headquarters and in the field), as well as other CBP

clients. Depending on the information in question, privilege issues may also require consultation

with the Office of the Commissioner, the U.S. Department of Homeland Security (DHS), and

other DHS components, such as U.S. Immigration and Customs Enforcement and U.S.



3
  The term “c-wire” is often used as shorthand to refer to concertina wire. The quotation marks (“ ”) are used to
enclose search values containing more than one word or hyphenated words.
4
  The tilde (~) is the character used for stemming searches when added at the end of the root word. For example, a
search on apply~ returns documents containing the words apply, applying, applies, and applied.
5
  The asterisk (*) is wild card used in searching to correspond with any numbers or characters. For example, ap*ed
matches applied, approved, and so on.

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Citizenship and Immigration Services. Further, privilege review also generally involves

consultation with the DOJ litigation team.

14.    Additionally, conducting a thorough privilege and sensitivity review of every document

is essential in endeavor to ensure that law enforcement sensitive information is protected, CBP

protects information prohibited from disclosure by law, and CBP protects law enforcement,

deliberative process, and attorney-client privileged information and work product. As such, this

review cannot be short-circuited.

15.    Currently, 14 OCC attorneys are engaged in reviewing the narrowed universe of 6,096

documents for responsiveness and marking those determined to be responsive for sensitive

and/or privileged information. These attorneys are continuing to review these documents as

expeditiously as possible in endeavor to comply with the Court’s Order in good faith.

       I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge, information, and belief.

       Executed this 14th day of November, 2023.



                                              Bennett              Digitally signed by
                                                                   Bennett Courey

                                              Courey               Date: 2023.11.14
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                                              ____________________________________
                                              Marc Bennett Courey
                                              Associate Chief Counsel
                                              (Enforcement and Operations)
                                              Office of Chief Counsel
                                              U.S. Customs and Border Protection




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